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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

ANDRE HALL, et al.,
Plaintiffs,

No. 1:22-cv-00857 (MSN/JFA)
v.

CAPITAL ONE FINANCIAL
CORPORATION, ef al.,
Defendants.

 

 

ORDER
This matter comes before the Court on Defendants’ Motion to Dismiss (Dkt. No. 21). Having
reviewed the motion, opposition, reply thereto, arguments of counsel, and for the reasons stated in open
court, it is hereby
ORDERED that Defendants’ Motion to Dismiss (Dkt. No. 21) is GRANTED. It is further
ORDERED that the Complaint (Dkt. No. 1) is DISMISSED WITHOUT PREJUDICE with
leave to file an amended complaint within fourteen (14) days of the date of this Order.

It is SO ORDERED.

 

/s/ 1!
Michael S. Nachmanoff
United States District Judge

Hon. Michael $. Nachmanoff
United States District Judge

 

Alexandria, Virginia
December 1, 2022
